Case 1:05-cr-10056-.]DT Document 24 Filed 08/03/05 Page 1 of 2 PagelD 28

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN D|VlS|ON

 

UN|TED STATES OF Al\/|ER|CA,

 

P|aintiff,
v. Cr. No. 05-10056-01-T
l\/llCl-lAEL CREWS,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on August 2l 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, who is appointed:

NA|\/lE: Co|in l\/lorris
ADDRESS:

TELEPHONE§

The defendant through counsel, waived format arraignment and entered a plea of not
guilty.

A|l motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant being held without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. l\/|arshal.
§§ /TZM/zs JL

S. THO|\/|AS ANDERSON
United States l\/lagistrate Judge

Charges: unlawful transport of firearms
Assistant U.S. Attorney assigned to case; Powe|l
Rule 32 was not waived_

Defendant's age: 334

Thls document entered on the docket sheet in compliance

with Rule 55 and/or 32{b) FRch on Q,r/l¢’l:??f?'f)H

 

 

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

J. Colin Morris

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Honorable J ames Todd
US DISTRICT COURT

